                            Exhibit A
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 1 of 32 PageID #: 818
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 2 of 32 PageID #: 819
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 3 of 32 PageID #: 820
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 4 of 32 PageID #: 821
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 5 of 32 PageID #: 822
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 6 of 32 PageID #: 823
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 7 of 32 PageID #: 824
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 8 of 32 PageID #: 825
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 9 of 32 PageID #: 826
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 10 of 32 PageID #: 827
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 11 of 32 PageID #: 828
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 12 of 32 PageID #: 829
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 13 of 32 PageID #: 830
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 14 of 32 PageID #: 831
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 15 of 32 PageID #: 832
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 16 of 32 PageID #: 833
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 17 of 32 PageID #: 834
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 18 of 32 PageID #: 835
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 19 of 32 PageID #: 836
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 20 of 32 PageID #: 837
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 21 of 32 PageID #: 838
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 22 of 32 PageID #: 839
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 23 of 32 PageID #: 840
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 24 of 32 PageID #: 841
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 25 of 32 PageID #: 842
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 26 of 32 PageID #: 843
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 27 of 32 PageID #: 844
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 28 of 32 PageID #: 845
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 29 of 32 PageID #: 846
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 30 of 32 PageID #: 847
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 31 of 32 PageID #: 848
Case 3:10-cv-00945 Document 46-1 Filed 03/27/12 Page 32 of 32 PageID #: 849
